Case 19-40057-JMM         Doc 209     Filed 05/28/21 Entered 05/28/21 14:04:48             Desc Main
                                     Document     Page 1 of 5



 Matthew T. Christensen, ISB: 7213
 ANGSTMAN JOHNSON
 199 N. Capitol Blvd, Ste 200
 Boise, ID 83702
 Phone: (208) 384-8588
 Fax: (208) 629-2157
 Email: mtc@angstman.com

 Attorney for Debtors in Possession

                            UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF IDAHO

 In re:
                                                     Case No. 19-40057-JMM
 TIMOTHY D. SEMONES and SUSAN C.
 DESKO,                                              Chapter 11

                         Debtors.



                                    CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on the 28th day of May, 2021, I caused the following documents

 to be served via U.S. Mail, postage prepaid on the creditors as listed on the attached mailing matrix

 as follows: (1) Statistical Report for Closing Confirmed Chapter 11 Proceedings, (Docket No.

 205); (2) Notice of Application for Allowance of Fees/Costs for Counsel, (Docket No. 207); and

 (3) Motion to Close Case, (Docket No. 208).


           DATED this 28th day of May, 2021.



                                                          /s/ Matt Christensen
                                                   MATTHEW T. CHRISTENSEN
                                                   Attorney for Debtors in Possession




 CERTIFICATE OF SERVICE – PAGE 1
Case 19-40057-JMM      Doc 209    Filed 05/28/21 Entered 05/28/21 14:04:48         Desc Main
                                 Document     Page 2 of 5



                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 28th day of May, 2021, I filed the foregoing
 CERTIFICATE OF SERVICE electronically through the CM/ECF system, which caused the
 following parties to be served by electronic means, as more fully reflected on the Notice of
 Electronic Filing:

      Jesse A.P. Baker                            ecfidb@aldridgepite.com
      Craig W. Christensen                        cwc@racinelaw.net
      Matthew T. Christensen                      mtc@angstman.com
      Scott D. Goldsmith                          goldsmith.scott@dorsey.com
      Robert Glenn Harris                         rob@bindermalter.com
      Andrew Seth Jorgensen                       andrew.jorgensen@usdoj.gov
      Amber K. Kauffman                           amber.kauffman@tax.idaho .gov
      J. Michael Keyes                            keyes.mike@dorsey.com
      Peter J. Kuhn                               peter.j.kuhn@usdoj.gov
      Edward B. Magarian                          magarian.edward@dorsey.com
      Jed W. Manwaring                            jmanwaring@evanskeane.com
      Chad Moody                                  chad@angstman.com
      Jason Ronald Naess                          Jason.r.naess@usdoj.gov
      David Wayne Newman                          ustp.region18.bs.ecf@usdoj.gov
      David M. Swartley                           bknotice@mccarthyholtus.com
      US Trustee                                  ustp.region18.bs.ecf@usdoj.gov
      Steven T. Waterman                          waterman.steven@dorsey.com


                                                    /s/ Matt Christensen
                                              Matthew T. Christensen




 CERTIFICATE OF SERVICE – PAGE 2
             Case 19-40057-JMM    Doc 209    Filed 05/28/21           Entered 05/28/21 14:04:48      Desc Main
Label Matrix for local noticing       ACTIONDocument
                                             COLLECTION SERVICES
                                                              Page 3 of 5             AMERICAN EXPRESS
0976-8                                2115 S VISTA AVE                                PO BOX 0001
Case 19-40057-JMM                     BOISE, ID 83705-3457                            LOS ANGELES, CA 90096-8000
District of Idaho
Twin Falls
Fri May 28 10:51:27 MDT 2021
AMERICAN EXPRESS                      AMERICAN EXPRESS                                American Express National Bank
PO BOX 981537                         WORLD FINANCIAL CENTER                          c/o Becket and Lee LLP
EL PASO, TX 79998-1537                200 VESEY STREET                                PO Box 3001
                                      NEW YORK, NY 10285-1000                         Malvern PA 19355-0701


Andrew S. Pitt                        BANATAO LIVING TRUST                            Jesse A.P. Baker
14308 S. Goss Rd                      c/o Desi Banatao                                Aldridge Pite, LLP
Cheney, WA 99004-8500                 Tallwood Venture Capital                        4375 Jutland Drive, Suite 200
                                      325 Lytton Ave, Ste 4A                          San Diego, CA 92117-3600
                                      Palo Alto, CA 94301-1446

Banatao Living Trust                  CAPITAL ONE                                     CAPITAL ONE
2420 Sand Hill Road, Suite 201        PO BOX 30281                                    PO BOX 60599
Menlo Park, CA 94025-6942             SALT LAKE CITY, UT 84130-0281                   CITY OF INDUSTRY, CA 91716-0599



Capital One Bank (USA), N.A.          Matthew Todd Christensen                        Susan C. Desko
by American InfoSource as agent       Angstman Johnson, PLLC                          PO Box 6496
PO Box 71083                          199 N. Capitol Blvd., Ste. 200                  Ketchum, ID 83340-6496
Charlotte, NC 28272-1083              Boise, ID 83702-6197


Eta Compute, Inc.                     Eta Compute, Inc.                               Scott D Goldsmith
310 North Westlake Blvd, #110         310 N. Westlake Blvd, #110                      Scott D. Goldsmith
Westlake Village, CA 91362-3790       Westlake Village, CA 91362-3790                 600 Anton Blvd, Ste 2000
                                                                                      Costa Mesa, CA 92626-7655


Robert Glenn Harris                   Idaho State Tax Commission                      Inphi Partners, LLC
Binder & Malter                       PO Box 36                                       PO Box 6496
2775 Park Ave                         Boise, ID 83722-0410                            KETCHUM, ID 83340-6496
Santa Clara, CA 95050-6004


Internal Revenue Service              J. Michael Keyes                                Andrew Seth Jorgensen
550 W. Fort St., MSC041               Dorsey Whitney LLP                              Office of the U.S. Trustee
Boise, ID 83724-0041                  701 5th Ave, Ste 6100                           720 Park Blvd., Ste. 220
                                      SEATTLE, WA 98104-7043                          Boise, ID 83712-7785


Amber K. Kauffman                     J Michael Keyes                                 Peter J Kuhn
Office of the Attorney General        Dorsey & Whitney LLP                            United States Department of Justice
Idaho State Tax Commission            701 5th Avenue                                  405 South Main Street, Suite 300
P.O. Box 36                           Suite 6100                                      Salt Lake City, UT 84111-3402
Boise, ID 83722-0036                  Seattle, WA 98104-7043

Jed W. Manwaring                      Chad Moody                                      Jason Ronald Naess
Evans Keane LLP                       Angstman Johnson                                OFFICE OF THE US TRUSTEE US DEPT
 1161 W. River St.                    199 N. Capitol Blvd., Ste. 200                  720 Park Blvd, Ste 220
Suite 100                             Boise, ID 83702-6197                            Boise, ID 83712-7785
PO Box 959
Boise, ID 83701-0959
             Case 19-40057-JMM               Doc 209        Filed 05/28/21          Entered 05/28/21 14:04:48            Desc Main
David Wayne Newman                                   STAPLEY ENGINEERING, PA Page 4 of 5
                                                          Document                                        Timothy D. Semones
OFFICE OF THE US TRUSTEE US DEPT                     8701 W HACKAMORE DRIVE                               PO Box 6496
405 South Main Street, Suite 300                     BOISE, ID 83709-1669                                 Ketchum, ID 83340-6496
Salt Lake City, UT 84111-3402


Steve T Waterman                                     David M Swartley                                     UNITED BRIDGE CAPITAL
DORSEY and WHITNEY LLP                               McCarthy & Holthus, LLP                              333 Las Olas Way, CU2
111 South Main St, 21st Floor                        702 W. Idaho, Suite 1100                             Fort Lauderdale, FL 33301-2363
Salt Lake City, UT 84111-2176                        Boise, ID 83702-8902


US Trustee                                           WELLS FARGO                                          WELLS FARGO
Washington Group Central Plaza                       PO BOX 14411                                         PO BOX 29482
720 Park Blvd, Ste 220                               DES MOINES, IA 50306-3411                            PHOENIX, AZ 85038-9482
Boise, ID 83712-7785


WELLS FARGO                                          WELLS FARGO AUTO FINANCE                             WELLS FARGO AUTO FINANCE
PO BOX 5169                                          PO BOX 25341                                         PO BOX 29704
SIOUX FALLS, SD 57117-5169                           SANTA ANA, CA 92799-5341                             PHOENIX, AZ 85038-9704



WELLS FARGO BANK                                     WELLS FARGO CREDIT CARD                              WELLS FARGO DEALER SERVICES
PO BOX 3117                                          PO BOX 51193                                         PO BOX 1697
WINSTON SALEM, NC 27102-3117                         LOS ANGELES, CA 90051-5493                           WINTERVILLE, NC 28590-1697



WELLS FARGO HOME EQUITY                              WELLS FARGO HOME MORTGAGE                            Steven Waterman
PO BOX 10335                                         PO BOX 10335                                         Dorsey & Whitney, LLP
DES MOINES, IA 50306-0335                            DES MOINES, IA 50306-0335                            111 South Main St, 21st Floor
                                                                                                          Salt Lake City, UT 84111-2176


Steven T Waterman                                    Wells Fargo Bank N.A., d/b/a Wells Fargo Aut         Wells Fargo Bank, N.A.
Dorsey & Whitney LLP                                 PO Box 130000 Raleigh, NC 27605                      Default Document Processing
111 So. Main St., 21st Floor                                                                              MAC# N9286-01Y
Salt Lake City, UT 84111-2176                                                                             1000 Blue Gentian Road
                                                                                                          Eagan MN 55121-7700

Wells Fargo Bank, N.A.                               Wells Fargo Bank, N.A.                               Wells Fargo Bank, N.A.
Default Document Processing                          Small Business Lending Division                      Wells Fargo Card Services
N9286-01Y                                            P.O. Box 29482                                       PO Box 10438, MAC F8235-02F
1000 Blue Gentian Road                               Phoenix AZ 85038-9482                                Des Moines, IA 50306-0438
Eagan, MN 55121-7700

Wells Fargo Bank, N.A.                               Wells Fargo Bank, N.A.
c/o ALDRIDGE PITE, LLP                               c/o McCarthy & Holthus, LLP
4375 Jutland Drive, Suite 200                        702 W. Idaho St., Suite 1100
P.O. Box 17933                                       Boise, ID 83702-8902
San Diego, CA 92177-7921




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
             Case 19-40057-JMM   Doc 209   Filed 05/28/21       Entered 05/28/21 14:04:48      Desc Main
(d)Idaho State Tax Commission        (u)Wells Fargo Bank, N.A.Page 5 of 5
                                          Document                              End of Label Matrix
P.O. Box 36                                                                     Mailable recipients   55
Boise, ID 83722-0410                                                            Bypassed recipients    2
                                                                                Total                 57
